              Case 3:18-ap-00064-JAF                 Doc 34        Filed 05/17/19          Page 1 of 2



                              UNITED STATES BANKRUPTCY COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                   JACKSONVILLE DIVISION

In re:                                                       Case No.: 3:16-bk-2232-PMG

PREMIER EXHIBITIONS, INC., et. al.,                          Chapter 11

         Debtor.                                         /

MARK C. HEALY of Michael Moecker &
Associates, Inc. in his capacity as Court-
Appointed Responsible Person,                                   Adv. Case No. 3:18-ap-00064-PMG

         Plaintiff,
v.

MARK A. SELLERS, DOUGLAS BANKER,
RICHARD KRANIAK, JACK H. JACOBS,
DAOPING BAO, SELLERS CAPITAL, LLC,
and SELLERS CAPITAL MASTER FUND,
LTD.,

      Defendants.
______________________________________/

                                          NOTICE OF MEDIATION

         YOU ARE HEREBY NOTIFIED that MEDIATION in the above-styled matter has

been scheduled for Wednesday, July 24, 2019 at 9:00 a.m. before the Honorable Herb Stettin.

The mediation will take place at the offices of Stroock, 200 South Biscayne Boulevard, Miami,

Florida 33131.

                                                        AGENTIS, PLLC
                                                        Special Counsel for Plaintiff
                                                        55 Alhambra Plaza, Suite 800
                                                        Coral Gables, Florida 33134
                                                        Tel.: 305.722.2002
                                                        www.agentislaw.com

                                                        By: __/s/ Robert P. Charbonneau_______________
                                                               Robert P. Charbonneau
                                                               Florida Bar No.: 968234
                                                               rpc@agentislaw.com



            55 Alhambra Plaza ∙ Suite 800 ∙ Coral Gables, Florida 33131 ∙ T. 305.722.2002 ∙ www.agentislaw.com
            Case 3:18-ap-00064-JAF                 Doc 34        Filed 05/17/19          Page 2 of 2



                                     CERTIFICATE OF SERVICE

                I HEREBY CERTIFY that a true and correct copy of the foregoing was served by

transmission of Notices of Electronic Filing generated by CM/ECF to those parties registered to

receive electronic notices of filing in the case on May 17, 2019.

                                                      AGENTIS, PLLC
                                                      Counsel for Mark C. Healy as Responsible Person
                                                      55 Alhambra Plaza, Suite 800
                                                      Coral Gables, Florida 33134
                                                      Tel.: 305.722.2002
                                                      www.agentislaw.com


                                                      By: __/s/ Robert P. Charbonnea_______________
                                                             Robert P. Charbonneau
                                                             Florida Bar No.: 968234
                                                             rpc@agentislaw.com




          55 Alhambra Plaza ∙ Suite 800 ∙ Coral Gables, Florida 33131 ∙ T. 305.722.2002 ∙ www.agentislaw.com
